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                              UNITED STATES DISTRICT COURT
 12                          CENTRAL DISTRICT OF CALIFORNIA
 13
                                                    Case No. 2:19-cv-02446-KS
 14   ALEJANDRO ODEH-LARA,
               Plaintiff,                           SUMMONS RETURNED EXECUTED
 15   v.
 16   SYNCHRONY BANK,
 17           Defendant.

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 22          Respectfully submitted this 9th day of April 2019.
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             Case 2:19-cv-02446-PSG-AGR Document 7 Filed 04/09/19 Page 3 of 4 Page ID #:24
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                                                     
                                                    
  ALEJANDRO ODEH-LARA,                                                             

                                                                                                  2:19-cv-02446-KS
                                                                    
                                           
                                                                                                 
  SYNCHRONY BANK,
                                                                                              
                                                                                           
                                                                 

      
                                                                       
                                                                                                      
                                                                                                      

                       CIVIL COVER SHEET; CERTIFICATION AND NOTICE OF INTERESTED PARTIES; NOTICE TO COUNSEL;
                                                STATEMENT OF CONSENT TO PROCEED BEFORE A UNITED STATES MAGISTRATE JUDGE
 
          Synchrony Bank c/o CT Corporation System
                    
                      Daisy Montenegro, CT Corporation System Agent
                     818 West Seventh Street, Suite 930
                                                        Los Angeles, CA 90017
      
            
            
      
                    
                      
                             04/04/2019                             2:51 p.m.

                    
                            
                              
                            
                              
                                                                   
                            
                              
                            
                            


                                                       
                                                                                                                                              
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